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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JOSE R. FLORES-GUZMAN

CIVIL ACTION - LAW

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PLAINTIFFS :
v. . No.
JAMES C. BURNS AND WERNER :
ENTERPRISES, INC. :
DEFENDANTS : JURY TRIAL DEMANDED
COMPLAINT

AND NOW, comes Plaintiff Jose R. Flores-Guzman, by and through his
attorney, SCOTT B. COOPER, ESQUIRE, and SCHMIDT KRAMER PC, and aver
the following:

PARTIES

1. Plaintiff Jose R. Flores-Guzman is an adult individual and citizen of the
State of Nevv Jersey, Who lives at 446 1st Ave, Second Floor, Elizabeth, Union
County, New Jersey 07206.

2. Defendant James C. Burns (hereinafter referred to as “Defendant
Burns”) is an adult individual and citizen of the State of Florida, with a last
known address of 11409 Ventura Way, Tampa, Hillsborough County, Florida
33637.

3. Defendant Werner Enterprises is a business corporation doing business

as Werner Enterprises, Inc. (hereinafter referred to as “Defendant Werner

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Enterprises”) with its headquarters and principal place of business located at
14507 F`rontier Road, Omaha, Sarpy County, Nebraska 68138.
JURISDICTION AND VENUE

4. Jurisdiction in this matter is based upon diversity of citizenship in
accordance with 28 U.S.C. § 1332.

5. Plaintiff Jose Flores-Guzman is seeking damages against Defendants
Burns and Werner Enterprises in excess of $75,000.00, exclusive of interest,
costs, and attorney fees.

6. Plaintiff Jose Flores-Guzrnan is a resident of New Jersey; Defendant
Burns is a resident of Florida; and Defendant Werner Enterprises is a
corporation with a registered business address in Nebraska.

7. The accident in question took place in York County, Pennsylvania.

8. Venue is proper under 28 U.S.C. § 1391(a).

OPERATIVE FACTS

9. The facts and occurrences hereinafter related took place on Saturday,
December 31, 2016, at approximately 9:04 a.m. in the parking lot of 5197
Commerce Drive in Jackson Township, York County, Pennsylvania.

10. At that time and place, Plaintiff Jose Flores-Guzman was standing
outside of a 2007 Freightliner, owned by his employer.

11. At that time and place, Defendant Burns was operating a 2017

Freightliner Truck, owned by Defendant Burns.

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12. At all relevant times, Defendant Burns was in the course and scope of
his employment as an independent contractor pulling a trailer owned by
Defendant Werner Enterprises.

13. At the time of the accident, Plaintiff Jose Flores-Guzman was attempting
to open his left trailer door when Defendant Burns drove past striking the door,
knocking Plaintiff Jose Flores-Guzman to the ground.

14. The accident was in no way caused or contributed to by Plaintiff Jose
Flores-Guzman, and was caused solely by Defendants Burns and Werner
Enterprises for the reasons set forth below.

COUNT l
JOSE FLORES-GUZMAN v. JAMES C. BURNS
NEGLIGENCE

15. Paragraphs one (1) through fourteen (14) of this Cornplaint are
incorporated herein by reference.

16. The accident at issue was initiated and legally caused by the negligence,
carelessness, and / or recklessness of Defendant Burns, consisting of the
following:

a. Failing to have his vehicle under proper and adequate control;

b. Operating a vehicle so as to create a dangerous situation for other
vehicles in the parking lot;

c. Failure to keep a reasonable lookout for other vehicles lawfully in
the parking lot;

d. Turning in such a manner as to endanger other vehicles on the

roadway; and

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e. Failure to maintain his vehicle in a proper manner.

17. As a direct and proximate result of the accident, Plaintiff Jose Flores-
Guzman sustained painful and severe injuries, which include, but are not limited
to:

a. Mild traumatic brain injury/concussion;

b. Posttraumatic headaches;

c. Left shoulder labrum tear

d. Left elbow sprain / strain / contusion;

e. Left lumbar radiculitis/radiculopathy; and

f. Left knee derangement and symptomatic chondral injury.

18. Plaintiff Jose FloreS-Guzman has been advised, and therefore avers,
that the aforementioned injuries are/ were serious and may be permanent in
nature, and claim is made therefor.

19. As a direct and proximate result of the motor vehicle accident, Plaintiff
Jose Flores-Guzman has incurred medical expenses for the injuries he has
sustained, and may continue to incur medical expenses in the future, and claim
is made therefor.

20. As a direct and proximate result of the injuries sustained in the motor
vehicle accident, Plaintiff Jose Flores-Guzman has suffered a loss of wages, and
has suffered an impairment of his future earning power and capacity, and claim
is made therefor.

21. As a direct and proximate result of the injuries sustained in the motor

vehicle accident, Plaintiff Jose Flores-Guzman has undergone, and may continue

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to undergo, great physical and mental suffering, great inconvenience in carrying
out his daily activities, loss of life’s pleasures and enjoyment, and claim is made
therefor.

WHEREFORE, Plaintiff Jose FloreS-Guzman respectfully requests Your
Honorable Court grant judgment in his favor and against Defendant James C.
Burns in an amount in excess of $75,000.00.

CCUNT II
JGSE FLORES-GUZMAN v. WERNER ENTERPRISES, INC.
RESPONDEAT SUPERIOR

22. Paragraphs one (1) through twenty-one (2 1) of this Complaint are
incorporated herein by reference.

23. At the time of the aforementioned accident, Defendant Burns Was acting
as a servant, agent, employee, and/ or ostensible agent of Defendant Werner
Enterprises.

24. At all relevant times, Defendant Burns was within the course and scope
of his employment for Defendant Werner Enterprises.

25. Plaintiff Jose Flores-Guzman’s injuries were a direct and proximate
result of the aforesaid negligence of Defendant Burns.

26. Plaintiff Jose Flores-Guzman’s injuries were a direct and proximate
result of Defendant Burns’s conduct and were not caused or contributed to by
any conduct on the part of Plaintiff Jose Flores-Guzman.

27. As the negligent conduct of Defendant Burns was in the course and
scope of his employment with Defendant Werner Enterprises, and he was either

its servant, agent, employee, and/ or ostensive agent, Defendant Werner

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Enterprises is vicariously liable for the negligent conduct that injured Plaintiff
Jose Flores-Guzman.

28. Paragraphs seventeen (1'7) through twenty-one (21) of this Complaint
relating to injuries and damages suffered by Plaintiff Jose Flores-Guzman are
incorporated herein by reference and made a part thereof as is set forth in full.

WHEREFORE, Plaintiff Jose FloreS-Guzman respectfully requests Your
l-Ionorable Court grant judgment in his favor and against Defendant Werner
Enterprises in an amount in excess of $75,000.00.

COUNT III
JOSE FLORES-GUZMAN v. WERNER ENTERPRISES, INC.
DIRECT NEGLIGENCE

29. Paragraphs one (1) through twenty-eight (28) of this Complaint are
incorporated herein by reference.

30. Defendant Werner Enterprises owed specific duties directly to Plaintiff
Jose Flores-Guzman, in which they failed, as follows:

a. Failing to properly supervise, conduct proper hiring practices,
and/or train its employee, Defendant Burns, in the safe operation
of motor Vehicles;

b. Failing to enforce DOT and/ or internal safety regulations and
procedures for operation of the tractor, the trailer, and the load over

public highways;

c. Failing to assure its driver was aware of defensive driving procedures
to avoid an accident; and

d. Permitting Defendant Burns to operate its vehicle in violation of DOT
and Pennsylvania rules and regulations and the traffic laws of the
Commonwealth of Pennsylvania.

31. As the negligent conduct of Defendant Burns was in the course and

scope of his employment with Defendant Werner Enterprises, and he was either
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its employee, servant, agent, or ostensible agent, Defendant Werner Enterprises
is vicariously liable for the negligent conduct that injured Plaintiff Jose Flores-
Guzman.

32. Paragraphs seventeen (17) through twenty-one (21) of this Complaint
relating to injuries and damages suffered by Plaintiff Jose Flores-Guzman are
incorporated herein by reference and made a part thereof as is set forth in full.

WHEREFORE, Plaintiff Jose Flores-Guzman respectfully requests Your
Honorable Court grant judgment in his favor and against Defendant Werner
Enterprises in an amount in excess of $75,000.00.

COUNT IV
JOSE FLORES-GUZMAN v. WERNER ENTERPRISES, INC.
NEGLIGENT ENTRUSTMENT

33. Paragraphs one (1) through thirty-two (32) of this Complaint are
incorporated herein by reference.

34. The negligence, careless, and /or reckless conduct of Defendant Werner
Enterprises consisted of the following:

a. Negligently entrusting Defendant Burns with the trailer and load
when it knew, or should have known, Defendant Burns lacked
sufficient skill, judgment, and/ or prudence in the operation of a
vehicle as set forth above;

b. Failing to adequately instruct Defendant Burns in the safe operation
of the tractor-trailer prior to entrusting him with the trailer and load,
of which Defendant Werner Enterprises was the owner;

c. Failing to prevent Defendant Burns from operating the 2017
Freightliner Truck, of which was pulling the trailer and load
Defendant Werner Enterprises was the owner of, until he had

sufficient ability to operate it safely;

d. Failing to adequately ascertain that Defendant Burns lacked the
ability necessary to safely operate the 2017 Freightliner Truck, of

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which was pulling the trailer and load Defendant Werner
Enterprises was the owner of, under the circumstances; and

e. Failing to properly supervise Defendant Burns in the operation of
the 2017 Freightliner Truck that was pulling the trailer and load
Defendant Werner Enterprises was the owner of.

35. Paragraphs seventeen (17) through twenty-one (21] of this Complaint
relating to injuries and damages suffered by Plaintiff Jose Flores-Guzman are
incorporated herein by reference and made a part thereof as is set forth in full.

WHEREFORE, Plaintiff Jose Flores-Guzman respectfully requests Your
Honorable Court grant judgment in his favor and against Defendant Werner
Enterprises in an amount in excess of $75,000.00.

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JOSE FLORES-GUZMAN v. JAMES C. BURNS
PUNITIVE DAMAGES

 

36. Paragraphs one (1) through thirty-five (35) of this Complaint are
incorporated herein by reference.

37. Defendant Burns knew, or should have known, that by failing to have
proper and adequate control of the 2017 Freightliner Truck he was operating
and failing to have his vehicle under proper and adequate control, there was a
high degree of probability that harm would result to others.

38. Defendant Burns’S actions, negligence, and conduct set forth above
display a wanton and reckless indifference to the health, safety, rights, and
interests of others.

39. Defendant Burns’s egregious behavior and outrageous conduct was the
direct and proximate cause of the accident at issue and the injuries sustained

by Plaintiff Jose Flores-Guzman.

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WHEREFORE, Plaintiff Jose Flores-Guzman respectfully requests your
Honorable Court grant judgment for punitive damages in his favor and against
Defendant Burns in an amount in excess of $75,000.00.

COUNT VI
JOSE FLORES-GUZMAN v. WERNER ENTERPRISES, INC.
PUNITIVE DAMAGES

40. Paragraphs one (1) through Thirty-nine (39) of this Complaint are
incorporated herein by reference.

41. Defendant Werner Enterprises knew, or should have known, its
negligent conduct set forth above involved a high degree of probability that harm
would result to others, specifically, Plaintiff Jose Flores-Guzman.

42. Despite the knowledge set forth above, Defendant Werner Enterprises
knowingly allowed its employee, Defendant Burns, to operate its 2017
Freightliner Truck when he was not properly trained and / or supervised.

43. Defendant Werner Enterprises’s actions, conduct, and negligence set
forth above display a wanton and reckless indifference to the health, safety,
rights, and interests of others.

44. Defendant Werner Enterprises’s egregious behavior and outrageous
conduct was the direct and proximate cause of the accident at issue, and the
injuries sustained by Plaintiff Jose Flores-Guzman.

WHEREFORE, Plaintiff Jose Flores-Guzman respectfully requests your
Honorable Court grant judgment for punitive damages in his favor and against
Defendant Werner Enterprises in an amount in excess of $75,000.00.

Respectfully submitted,

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Date; 11/07/2018

SCHMIDT KRAMER PC

By:

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